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                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION




UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )            No. 3:17-cr-00307-JO
                                                )
               v.                               )
                                                )
JOSHUA KANE BRITTON,                            )            OPINION AND ORDER ON
                                                )            MOTION FOR
                                                )            RECONSIDERATION
                        Defendant.              )



_________________________________________
JONES, J.

       Defendant Joshua Kane Britton (Britton) moves to have the Court reconsider its denial of

his motion for compassionate release. ECF No. 71. The government opposes this motion. ECF

No. 74. The bases for the reconsideration motion are that there has been an increase in Covid-19

cases at FCI Sheridan following the Court’s order and Britton contracted a breakthrough case of

COVID-19. The motion asks the Court to withdraw its opinion and hold the case in abeyance

until the release of a report on the medical conditions at FCI Sheridan that is being prepared in an

unrelated civil case.




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       In the opinion, the Court based its denial of Britton’s compassionate release motion on

two grounds: (1) Britton’s medical conditions were not extraordinary or compelling; and (2)

release of Britton would undermine the § 3553(a) sentencing factors. Britton appears to have

recovered from a mild breakthrough case of COVID-19. ECF No. 73-1, Ex. 1 at 6. The

vaccine, which provides protection from serious illness and death, performed as advertised.

While there was an increase in cases at FCI Sheridan, coinciding with the rise in the general

population due to the delta variant, that surge is abating.1 Britton’s medical conditions still do

not provide extraordinary or compelling reasons justifying compassionate release. Also, as

explained in the opinion on the original motion, releasing Britton would undermine the § 3553(a)

sentencing factors.

       Britton’s Motion for Reconsideration (ECF No. 72) is DENIED.

       IT IS SO ORDERED.

       Dated the 6th of October, 2021.



                                              /s/ Robert E. Jones______________
                                              Robert E. Jones
                                              Senior United States District Judge




1
 According to the government, at its peak, more than 100 inmates at FCI Sheridan were
diagnosed with COVID-19. ECF No. 74 at 2. As of today, that number stands at 61 inmates.
https://www.bop.gov/coronavirus/ (last visited Oct. 5, 2021.)

2   Opinion and Order
